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HCDistrictclerk.com ALATTAR, KHALED vs. CASEY, KEVAN 2/6/2014
Cause: 201254501 CDI: 7 Court: 113

COST STATMENTS

No Cost Statments found.

TRANSFERS

No Transfers found.

POST TRIAL WRITS

No Post Trial Writs found.

ABSTRACTS

No Abstracts found.

SUMMARY

CASE DETAILS COURT DETAILS

File Date 9/18/2012 Court 113"

Case (Cause) Location Civil Intake Ist Floor Address 20] CAROLINE (Flear: 19)

Case (Cause) Status Ready Docket ean ee

Case (Conse) Eyes yee JudgeName MICHAEL LANDRUM

Next/Last Setting Date 2/7/2014 Coane Tepe Civil

Jury Fee Paid Date 1/29/2014

Adjunct Case Number — Consolidation Date Deconsolidation Date

201326592 11/27/2013

APPEALS

Action Type Action Date Cost

Lifl4/2013 $0.00

Court Assignment Assigned to 14th Court of Appeals 11/14/2013 $0.00

Notice of Appeal Has Been Filed Accellerated Appeal 11/14/2013 $0.00

Transcript Action Transcript Requested 11/15/2013 $0.00

Transcript Action Transcript Requested 11/21/2013 $ 0.00

Transcript Action ‘Transcript Completed 12/9/2013 $ 386.00

Transcript Action Original Transcript Delivered 12/12/2013 $0.00

Transcript Action Transcript Paid 12/12/2013 $ 0,00

ACTIVE PARTIES

Name Type Post Attorney

Jdgm

ALATTAR, KHALED PLAINTIFF - CIVIL KELLER
BRIAN

CASEY, KEVAN DEFENDANT - CIVIL HOPKINS,
JASON

CASEY, KEVAN INTERVENOR DEFENDANT

HUTTNER, FREDERICK (INDIVIDUAL) DEFENDANT - CIVIL. KARCHMER,
JLEFEFREY

TOP GEAR INC (NKA LUXEYARD INC) DEFENDANT - CIVIL. SIILENA,
DANNY M

LUXERYARD INC DEFENDANT - CIVIL.

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SHEENA,

DANNY M

LUXER YARD INC CROSS PLAINTIFF KENNEDY,
KEVIN T

FRIEDLANDER, JONATHAN (INDIVIDUAT.) DEFENDANT - CIVIL CLOUSTON,
DAVID REESE

FRIEDLANDER, JONATHAN (INDIVIDUAL) INTERVENOR DEFENDANT

GANN, SCOTT (INDIVIDUAL) DEFENDANT - CIVIL CLOUSTON.
DAVID REESE

GANN, SCOTT (INDIVIDUAL) INTERVENOR DEFENDANT

ANSLOW & JACLIN LLLP (NEW JERSEY LIMITED REGISTERED AGENT
LIABILITY PARTNERSITIP)

TOP GEAR INC (NKA LUXLEYARD INC) REGISTERED AGENT

(DELAWARE CORPORATION)

CAMARILLO, JONATHAN DEFENDANT - CIVIL. HELLINGER,
MARE S

CAMARILLO, JONATHAN INTERVENOR DEFENDANT

THE JONATHAN CAMARILLO TRUST DEFENDANT - CIVIL. HELLINGER,
MARE S$

THE JONATHAN CAMARILLO TRUST INTERVENOR DEFENDANT

JONATHAN CAMARILLO (lHE) BY SERVING THE REGISTERED AGENT
REGISTERED AGENT

DAGHIGHI, BABAK INTERVENOR PLAINTIFF KLNNEDY,
KEVIN T
JINSUN LLC (A FOREIGN WYOMING LIMITED REGISTERED AGENT JURICA,
LIABILITY COMPANY) MAY BE SERVED SONDRA
BARTLETT, WILLIAM W (JR) DEFENDANT - CIVII, ENGELHARDT.
STEVEN

506 RAMBLEWOOD, HOUSTON, TX 77079

BARTLETT, WILLIAM W (JR) CROSS DEFENDANT
506 RAMBLEWOQOD, HOUSTON, TX 77079
LISMAN, KEVIN DEFENDANT - CIVIL ENGELHARDT,
STEVEN
2621 TALBOT, HOUSTON. TX 77005
LISMAN, KEVIN THIRD PARTY DEFENDANT
2621 TALBOT, HOUSTON, Tx 77005

LISMAN, KEVIN CROSS DEFENDANT
2621 TALBOT, HOUSTON, TX 77005

HUDSON, THOMAS DEFENDANT - CIVIL ENGELHARDT,
STEVEN
5250 N SAM HOUSTON PARKWAY W NO 100, HOUSTON, TX 77086
HUDSON, THOMAS THIRD PARTY DEFENDANT
5250 N SAM LIOUSTON PARKWAY W NO 100, HOUSTON, TX 77086

HUDSON, THOMAS CROSS DEFENDANT
5250 N SAM HOUSTON PARKWAY W NO 100, HOUSTON, TX 77086

BROMPTON GROUP NA LLC DEFENDANT - CIVIL ENGELHARDT,
STEVEN

BROMPTON GROUP NA LLC THIRD PARTY DEFENDANT

BROMPTON GROUP NA LLC CROSS DEFENDANT

ISEN, LAWRENCE (AKA [SEN FAMILY TRUST) DEFENDANT - CIVIL
10673 HUNTERS GLEN, SAN DIEGO, CA 92130

ISEN, LAWRENCE (AKA ISEN FAMILY TRUST) THIRD PARTY DEFENDANT
10673 HUNTERS GLEN, SAN DIEGO, CA 92130

ISEN FAMILY TRUST DEFENDANT - CIVIL.

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ISEN FAMILY TRUST THIRD PARTY DEFENDANT
ISEN FAMILY TRUST CROSS DEFENDANT
NAGELBERG, DAVID S DEFENDANT - CIVIL

939 COAST BLVD SUITE 21-DE, LA JOLLA, CA 92037

NAGELBERG, DAVID S THIRD PARTY DEFENDANT
939 COAST BLVD SUITE 21-DE, LA JOLLA, CA 92037

NAGELBERG, DAVID S CROSS DEFLNDANT
939 COAST BLVD SUITE 21-DE, LA JOLLA, CA 92037

BARAL, LANCE DEFENDANT - CIVIL
2304 CEDARDALE PLACE, LAS VEGAS, NV 89124

BARAL, LANCE THIRD PARTY DIET ENDANT
2304 CEDARDALE PLACE, LAS VEGAS, NV 89124

BARAL, LANCE CROSS DEFENDANT
2304 CEDARDALE PLACE, LAS VEGAS, NV 89124

KAY HOLDINGS INC DEFENDANT - CIVIL.
KAY HOLDINGS INC THIRD PARTY DEFENDANT
KAY HOLDINGS INC CROSS DEFENDANT
LEE, JOSEPH R DEFENDANT - CIVI.

7550 HINSON ST 12C, ORLANDO, FL 33040

Page 3 dago3 of 39

EQUITY HIGHRISE INC DEFENDANT - CIVI. CLOUSTON,
DAVID REESE

TROTTER, MARK DEFENDANT - CIVIL. DAVIDSON,
CHARLEY A,

5420 LA JOLILA BLVD B-102, LA JOLLA, CA 92037
SATER, JEFFREY A DEFENDANT - CIVIL
24061 NORTH CHRUCH ROAD, SCOTTSDALE, AZ 85255
SATER, JEFFREY A THIRD PARTY DEFENDANT
24061 NORTH CHRUCH ROAD, SCOTTSDALE, AZ 85255
SATER, JEFFREY A CROSS DEFENDANT
24061 NORTH CHRUCH ROAD, SCOTTSDALE, AZ 85253
HACHADORIAN, MESIA HUTTNER DEFENDANT - CEVT,
1972 N CALLE DEL SUERTE, TUSCON, AZ 85745

HUTTNER 1999 PARTNERSHIP LTD DEFENDANT - CIVIL. RARCHMER,
HEPEREY

LAMONT, JEFF DEFENDANT - CIVIL. ENGELHARDT,
STEVEN

5750 WILSHIRE BLVD SUITE 600M, LOS ANGELES, CA 90036
LAMONT, JEFF CROSS DEFENDANT
$750 WILSHIRI BLVD SUITE 600M, LOS ANGELES, CA 90036

BROMPTON GROUP NA LLC BY SERVING REGISTERED AGENT
THROUGH ITS REGISTERED AGENT KIERAN

3050 N POST OAK LANE SUITE 400, HOUSTON, TX 77056
KAY HOLDINGS INC BY SERVING THROUGH ITS) DEFENDANT - CIVIL,
REGISTERED AGENT SAGE

1135 TERMINAL WAY SUITE 209, RENO, NV 00817
KAY HOLDINGS INC BY SERVING THROUGH ITS) REGISTERED AGENT
REGISTERED AGENT SAGE

1135 TERMINAL WAY SUITE 209, RENO, NV 00817

EQUITY HIGHRISE INC BY SERVING ITS REGISTERED AGENT
REGISTERED AGENT OR JONATHAN

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5348 VEGAS DRIVE, LAS VEGAS, NV 89108

HUTTNER 1999 PARTNERSHIP LTD BY SERVING REGISTERED AGENT
ITS REGISTERED AGENT GARY W

4265 SAN FELIPE ST SUITE 1200, HOUSTON, TX 77027

ALLEN, TOMMY DEFENDANT - CIVII

22 GATE HILL DRIVE, SPRING, TX 77381

ALLEN, TOMMY CROSS DEFENDANT
22 GATE HILL DRIVE, SPRING, TX 77381

lee, Joseph DEFENDANT - CIVIL

FAR EAST STRATEGIES LLC

ACADIA HOLDING COPORATION
ACADIA HOLDING COPORATION

DEFENDANT - CIVIL.

DEFENDANT - CIVIL
THIRD PARTY DEFENDANT

ACADIA HOLDING COPORATION CROSS DEFENDANT
LAZY BEAR LLC DEFENDANT - CIVIL
LEE BEAR LLC DEFENDANT - CIVIL
SUN BEAR LLC DEFENDANT - CIVIL
OSO CAPITAL LLC DEFENDANT - CIVIL

FAR EAST STRATEGIES
SERVING ITS REGISTERED AGENT

5348 VAGAS DRIVE, LAS VEGAS, NV 89108

ACADIA HOLDING CORPORATION MAY BE REGISTERED AGENT

SERVED BY SERVING ITS REGISTERED
3 W BROAD OAKS DRIVE, HOUSTON, TX 77056

LAZY BEAR LLC MAY BE SERVED BY SERVING = REGISTERED AGENT

ITS REGISTERED AGENT SCOTT GANN
5220 SPRING VALLEY SUITE, 195, DALLAS, TX 75254

LEE BEAR LLC MAY BE SERVED BY SERVING ITS REGISTERED AGENT

REGISTERED AGENT
900 JACKSON STREET SUITE, 440, DALLAS, TX 75202

SUN BEAR LLC MAY BE SERVED BY SERVING REGISTERLD AGENT

ITS REGISTERED AGENT SCOTT GANN
5200 SPRING VALLEY SUITE, 195, DALLAS, 1X 7/5254

OSO CAPITAL LLC MAY BE SERVED BY SERVING REGISTERED AGENT

ITS REGISTERED AGENT
5220 SPRING VALLEY SUITE, 195, DALLAS, TX 73254

Sater, Jeffrey DEFENDANT - CIVIL.
ALLEN, TOMMY DEFENDANT - CIVIL.
22 GATE HILL DRIVI!, SPRING, TX 77381

ALLEN, TOMMY CROSS DEFENDANT
22 GATE HILL. DRIVE, SPRING, TX 77381

JINSUN LLC DEFENDANT - CIVIL

Isen, Lawrence DEFENDANT - CIVIL

LLC MAY BE SERVED BY REGISTERED AGENT

ENGELHARDT.
STEVEN

CLOUSTON,
DAVID REESE

HOPKINS.
JASON

MOSELEY.
LESLYE
EL.J.EN

MOSELEY.
LESLYE
ELI.EN
MOSELEY,
LESLYE
ELLEN
MOSELEY,
LESEYE
ELLEN

BISSINGER,
DAVID KENT

JURICA,
SONDRA

HENDERSON,
J. RANDLE

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Isen Trust DEFENDANT - CIVIL HENDERSON,
J.RANDLE

LUXE YARD INC THIRD PARTY PLAINTIFE KENNEDY,
KEVIN I

BAHR, DAVID THIRD PARTY DEFENDANT

BAHR, DAVID CROSS DEFENDANT

GLOBEX TRANSFER LLC THIRD PARTY DEFENDANT

tLOBEX TRANSFER LLC CROSS DEFENDANT

GLOBEX TRANSFER LLC CROSS DEFENDANT

WESTOR CAPITAL GROUP INC THIRD PARTY DEFENDANT

WESTOR CAPITAL GROUP INC CROSS DEFENDANT

WESTOR CAPITAL GROUP INC CROSS DEFENDANT

APEX CLEARING CORPORATION (F/K/A PENSON THIRD PARTY DEFENDANT
FINANCIAL SERVICES INC)

APEX CLEARING CORPORATION (F/KR/A PENSON CROSS DEFENDANT
FINANCIAL SERVICES INC)

APEX CLEARING CORPORATION (F/K/A PENSON CROSS DEFENDANT
FINANCIAL SERVICES INC)

WILSON DAVIS & CO THIRD PARTY DEPENDANT
WILSON DAVIS & CO CROSS DEFENDANT
WILSON DAVIS & CO CROSS DEFENDANT
LING, TREVOR THIRD PARTY DEFENDAN]
LING, TREVOR CROSS DEFENDANT
LING, TREVOR CROSS DEFENDANT
SHAW, DOUG THIRD PARTY DEFENDANT
SHAW, DOUG CROSS DEFENDANT
NEXT MEDIA LLC THIRD PARTY DEFENDANT
NEXT MEDIA LLC CROSS DEFENDANT

GLOBEX TRANSFER LLC MAY BE SERVED BY REGISTERED AGENT
SERVING MICHAEL J TURNER II

WESTOR CAPITAL GROUP INC MAY BE SERVED REGISTERED AGENT
BY SERVING RICHARD BACII

APEX CLEARING CORPORATION (F/K/A PENSON REGISTERED AGENT
FINANCIAL SERVICES INC) MAY BE

WILSON DAVIS & CO MAY BE SERVED BY REGISTERED AGENT
SERVING LYLE W. DAVIS

NEXT MEDIA LLC THIRD PARTY DEFENDANT
NEXT MEDIA LLC CROSS DEFENDANT

NBT GROUP LLC THIRD PARTY DEFENDANT
NBT GROUP LLC CROSS DEFENDANT
SMITH, TOBIN THIRD PARTY DEFENDANT
SMITH, TOBIN CROSS DEFENDANT

SANO HOLDINGS INC THIRD PARTY DEFENDANT
SANO HOLDINGS INC CROSS DEFENDANT
KLINEK, ROBERT THIRD PARTY DEFENDANT
KLINEK, ROBERT CROSS DEFENDANT

PACK, SUSAN THIRD PARTY DEFENDANT
PACK, SUSAN CROSS DEFENDANT
KOMOROCZY, LISA ANN THIRD PARTY DEFENDANT
KOMOROCZY, LISA ANN CROSS DEFENDANT
CROWLEY, SEAN THIRD PARTY DEFENDANT
CROWLEY, SEAN CROSS DEFENDANT

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GLECKMAN, ROBERT
GLECKMAN, ROBERT

NEXT MEDIA LLC MAY BE SERVED BY SERVING
EASTBIZ.COM INC AND/OR

SANO HOLDINGS INC MAY BE SERVED BY
SERVING SAGE INTERNATIONAL INC

ACADIA HOLDINGS CORPORATION MAY BE
SERVED BY SERVING THE CORPORATION

NBT GROUP LLC MAY BE SERVED BY SERVING
REGISTERED AGENT SOLUTIONS INC

FISHMAN FAMILY TRUST
FISHMAN FAMILY TRUST

FISHMAN FAMILY TRUST MAY BE SERVED BY
SERVING SHEILA FISHMAN

THIRD PARTY DEFENDANT
CROSS DEFENDAN |

REGISTERED AGENT

REGISTERED AGENT

REGISTERED AGENT

REGISTERED AGENT

THIRD PARTY DEFENDANT
CROSS DEFENDANT
REGISTERED AGINT

INACTIVE PARTIES
Name Type Post
Jdgm
ANSLOW &JACLIN = DEFENDANT - CIVIL
LLP
MIRESKANDARI, AMIR DEFENDANT - CIVIL
(INDIVIDUAL)
BARKAN, RONEN INTERVENOR PLAINTIFF
ANSLOW, RICHARD I DEFENDANT - CIVIL
195 ROUTE 9 SOUTH 2ND FLOOR, MANALAPAN, NJ 07726
JACLIN, GREGG E DEFENDANT - CIVIL
195 ROUTE 9 SOUTH 2ND FLOOR, MANALAPAN, NJ 07726
JUDGMENT/EVENTS
Date Description Order Post Pgs Volume Filing
Signed Jdgm ‘Page Attorney
1/29/2014 ANSWER 0 DAVIDSON, CHARLEY
A
1/152014 FOURTEENTH AMENDED Q KELLER, BRIAN
ORIGINAT. PETITION
11/27/2013 CROSS ACTION 0 KENNEDY, KEVIN T
11/27/2013 THIRD PARTY PETITION 0 KENNEDY, KEVIN T
11/22/2013 ANSWER ORIGINAL PETITION 0 HENDERSON, J.
RANDLE
11/22/2013 ANSWER ORIGINAL PETITION 0 HENDERSON, J.
RANDLE
10/31/2013 THIRTEENTH AMENDED 0 KELLER, BRIAN
ORIGINAL
10/15/2013 TWELVETH AMENDED 0 KELLER, BRIAN
ORIGINAL PETITION
9/9/2013. = ANSWER ELEVENTH 0 ENGELHARDT,
AMENDED ORIGINAL PETITION STEVEN
8/28/2013 BLEVENTII AMENDED 0 KELLER, BRIAN
ORIGINAL
8/26/2013 ANSWER TENTH AMENDED 0 ENGELHARDT,
ORIGINAL PETITION STEVEN
8/19/2013 ANSWER ORIGINAL PETITION 0 JURICA, SONDRA
8/16/2013 0 KELLER, BRIAN

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Attorney

SHEPHERD,
GEORGE WILT.IAM
i

SHEENA. DANNY
M.

KENNEDY, KEVIN

Person
Filing
TROTTER, MARK

ALATTAR, KHALED

LUXERYARD INC
LUXE YARD INC

Isen, Lawrence

Isen Trust

ALATTAR, KHALED
ALATTAR, KHALED
LAMONT, JEFP
ALATTAR, KHALED
ALLEN, TOMMY
FAR EAST

STRATEGIES LLC

ALATTAR, KHALED

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2/6/2014
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8/6/2013

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7/26/2013

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7/24/2013

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6/28/2013

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5/29/2013

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5/20/2013

3/8/2013

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2/8/2013

1/21/2013

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1/11/2013

1/11/2013

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TENTH AMENDED ORIGINAL
PETITION

NINTH AMENDED ORIGINAL
PETITION

ANSWER ORIGINAL PETITION

ANSWER ORIGINAL PETITION

ANSWER ORIGINAL PETITION

EIGHTIT AMENDED ORIGINAL
PETITION

ANSWER ORIGINAL PETITION

ANSWER FIFTH AMENDED
ORIGINAL, PETITION

ANSWER ORIGINAL PETITION

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ORIGINAL PETITION

ANSWER FIFTH AMENDED
ORIGINAT. PETITION

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ORIGINAL PETITION

ANSWER FIFTH AMENDED
ORIGINAL PETITION

ANSWER ORIGINAL PETITION

ANSWER ORIGINAL PETITION

SEVENTH] AMENDED ORIGINAL

PETITION

FIFTH AMENDED ORIGINAL
PETITION

FIRST AMENDED ANSWER
FOURTII AMENDED ORIGINAL
PETIT

FIRST AMENDED ANSWER
FOURTH AMENDED ORIGINAL.
PETIT

ANSWER ORIGINAL PETITION

THIRD AMENDED ORIGINAL
PETITION

SECOND SUPPLEMENTAL
PETITION

SECOND AMENDED ORIGINAL
PETITION

ANSWER ORIGINAL PETITION

ANSWER ORIGINAL PETITION

INTER VENTION
INTERVENTION
MOTION STAY

MOTION STAY

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0

OLDHAM, JOHN
THOMAS

MOSELEY, LESLYE
ELLEN

MOSELEY, LLESLYE
ELLEN

MOSELEY, LESLYL
ELLEN

KELLER, BRIAN

MOSELEY, LESLYE
ELLEN

BISSINGER, DAVID
KENT

KARCHMER, JEFFREY

ENGELHARDT,
STEVEN

ENGELHARDT,
STEVEN

ENGELHARDT,
STEVEN

ENGELHARDT,
STEVEN

CLOUSTON, DAVID
REESE

CLOUSTON. DAVID
REESE

KELLER, BRIAN

GREENE, MITCHEL1.
A.

SHEENA, DANNY M.

SHEENA, DANNY M.

JURICA, SONDRA

KELLER, BRIAN

SCARBOROUGH,
HARRY LLOYD

KELLER, BRIAN

MEADOWS, CLIARLES
M. JR.

MEADOWS, CHARLES
MIR.

COLBERT, KEVIN L.
COLBERT, KEVIN L.

KAPLAN, CASD'Y
PAUL

KAPLAN, CASEY
PAUL

ALATTAR, KHALED

LEE BEAR LLC

SUN BFAR LLCO

OSO CAPITAL LLC

ALATTAR, KIIALED

LAZY BEAR LLC

Sater, Jeffrey

HUTTNER 1999

PARTNERSHIP LTD

BROMPTON GROUP
NA LLC

BARTLETT, WILLIAM
W (IR)

HUDSON, THOMAS

LISMAN, KEVIN

lee, Joseph

EQUITY HIGIRISE
INC

ALATTAR, KHALED

ALATTAR, KHALED

LUXERYARTI} INC

MIRESKANDARI,
AMIR (INDIVIDUAL)

JINSUN LLC (A
FOREIGN WYOMING
LIMITED LIABILITY
COMPANY) MAY BE
SERVED

ALATTAR, KHALED
ALATTAR, KHALED
ALATTAR, KHALED
CAMARILLO,

JONATHAN

THE JONATHAN
CAMARILLO TRUST

BARKAN, RONEN
DAGHIGHI, BABAK
CASEY, KEVAN

2/6/2014
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1/11/2013, MOTION STAY

V/11/2013 MOTION STAY

12/18/2012. FIRST AMENDED ORIGINAL

PETITION

10/31/2012) ANSWER ORIGINAL, PETITION

10/29/2012, ANSWER ORIGINAL PETITION

10/24/2012, ANSWER ORIGINAL. PETITION

10/24/2012) ANSWER ORIGINAL PETITION

10/24/2012, ANSWER ORIGINAL PETITION

10/19/2012, ANSWER ORIGINAL PETITION

10/19/2012, ANSWER ORIGINAL PETITION

9/18/2012 ORIGINAL PETITION

SETTINGS

Date Court Post Docket Type
Jdgm

12/14/2012 113 Law Day Docket

09:00 AM

5/22/2013 113 Presetting

10:30 AM leleconference

5/31/2013 113 Law Day Docket

02:00 PM

5/31/2013 113 Law Day Docket

02:00 PM

6/14/2013 13 Law Day Docket

02:30 PM

7/08/2013 113 Submission Docket

08:00 AM (Local Rule 12)

7/12/2013 113 Law Day Docket

09:00 AM

7/12/2013 13 Law Day Docket

09:00 AM

7/12/2013 113 Law Day Docket

01:00 PM

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Reason

Motion to Compel
Production

STATUS CONFERENCE

SPECIAL APPEARANCE
(TRCP 120A)

STRIKE PLEAD - MTN TO
(TRCP 168)

MOTION FOR ORAL.
HEARING

Motion to Compe!
Production

Motion to Compe!
Production

MOTION FOR
PROTECTION FROM
DISCOVERY REQUEST

OBJECTION TO
DISCOVERY REQUEST
(TRCP 166B)

QUASH DEPOSITIONS -
MOTION TO (TRCP 18613)

MOTION FOR
PROTECTION FROM
DISCOVERY REQUEST
SPECIAL EXCEPTIONS
(TRCP 91)

Motion to Compel
Production

KAPLAN, CASEY
PAUL

KAPLAN, CASEY
PAUL

KELLER, BRIAN

PETRONIO, BETH
BIVANS

JURICA, SONDRA
COLBERT, KEVIN L..,

COLBERT, KEVIN L.,

SHEPHERD, GEORGE

WILLIAM III

CLOUSTON, DAVID
REESE

CLOUSTON, DAVID
REESE

SCARBOROUGH,
HARRY LLOYD

FRIEDLANDER.
JONATHAN
UNDIVIDUAL)
GANN, SCOTT
UNDIVIDUAL)
HUTTNER,
FREDERICK
CNDIVIDUATL)

ALATTAR, KHALED

HUTTNER,
FREDERICK
(INDIVIBUAL)
CASEY, KEVAN
MIRESKANDARI.
AMIR (INDIVIDUAL)

TOP GEAR ING (NKA
LUXEYARD INC}

ANSLOW & JACLIN
LLP

FRIEDLANDER,
JONATHAN
GNDIVIDUAL)

GANN, SCOTT
C(INDIVIDUAT.)

ALATTAR, KHALED

Results Comments Requesting
Party

Passed = PER CYNTHIA 736 222) KELLER, BRIAN

6400

Hearing REMOVE FROM

Held BKRUPTCY

Denied SHEPHERD.
GEORGE
WILLIAM III

Hearing ON RECORD KELLER, BRIAN

Held

Ilearing ADV KELLER, BRIAN

Held

Re-Set DEF DEMAND FOR KELLER. BRIAN

ORAL HEARING

Re-Set PER COURT KELLER, BRIAN

Re-Set  RESETPERCOURT — JURICA, SONDRA

Hearing CIRCULATE ORD

Held

Hearing =CIRCULATEORDON KELLER, BRIAN

Held DEPO

Passed = BY JURICA 7-12-13 JURICA, SONDRA

Passed = BY MOSELEY MOSELLY,
LESLYE ELLEN

lfearmg KELLER, BRIAN

Held

2/6/2014
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7/19/2013
09:00 AM

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10:00 AM

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08:00 AM

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Submission Docket
(Local Rule 12)

Submission Docket

(Local Rule 12)

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Presetting
Teleconference

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MOTION FOR
PROTECTION FROM

DISCOVERY REQUEST

Motion to Compel
Production

Motion to Compel
Production

SUBSTITUTE

ATTORNEYS - MOTION

TO

SPECIAL EXCEPTIONS

(TRCP 91)

QUASH DEPOSITIONS -
MOTION TO (TRCP [86B)

SUBSTITUTED SERVICE -
MOTION FOR (TRCP 106)

SPECIAL EXCEPTIONS

(TRCP 91)

SPECIAL EXCEPTIONS

(TROP 91)

SPECIAL EXCEPTIONS

(TRCP 91)

STRIKE PLEAD - MTN TO

(TRCP 168)

SPECIAL APPEARANCE

(TRCP 120A)

QUASH DEPOSITIONS -
MOTION TO (TRCP 1868)

SPECIAL EXCEPTIONS

(TRCP 91)

SPECIAL EXCEPTIONS

(TRCP 91)

QUASH DEPOSITIONS -
MOTION TO (TRCP 1863)

SPECIAL APPEARANCE

(TRCP 120A)

SUMMARY JUDG - MIN
PARTIAL (TRCP 166A}

OBJECTION TO

DISCOVERY REQUEST

(TRCP 166B)
COMPEL ANS TQ)

INTERROGS - MTN (TROP

168)
OBJECTION TO

DISCOVERY REQULST

(TRCP 166B)

SPECIAL EXCEPTIONS

(TRCP 91)

SUMMARY JUDG - MTN
PARTIAL (TRCP 166A)

COMPEL APPEAR DEPO -

MTN (ERCP 201)

Motion to Compel
Production

Motion to Compel
Production

Re-Set

Re-Set

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Granted

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BY JURICA 8-22-13

BY

MOSEL Y/PRLVIOUSLY

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BY KELLER 8-22-13

BY TAYLOR 8-22-13

SET TWICE

BY JURICA 8-26-13

JONES
KELLER, BRIAN
KELLER, BRIAN

KENNEDY, KEVIN
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JURICA, SONDRA

TAYLOR,
THOMAS 1. III

KELLER, BRIAN
MOSELEY,

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LESLYE ELLEN

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THOMAS L. HH
JURICA, SONDRA

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JURICA. SONDRA

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OBJECTION TO
DISCOVERY REQUEST
(TRCP 166B)

SPECIAL EXCEPTIONS
CVRCP 91)

Motion to Compel
Production

COMPEL ANS TO
INTERROGS - MTN (TROP
168)

OBJECTION TO
DISCOVERY REQUEST
(TRCP 166B)

Motion to Compel
Production

MOTION TO APPOINT
ARBITRATOR

Mation to Compel
Production

MOTION FOR
CONTINUANCE
(FAMILY)

SUMMARY JUDG - MTN
PARTIAL (TRCP 166A)

SUMMARY JUDG - MTN
PARTIAL (TRCP 166A)

COMPEL ANS TO
INTERROGS - MTN CPROP
168}

Motion to Compel
Production

Motion to Compel
Production

Motion to Compel
Production

OBJECTION TO
DISCOVERY REQUEST
(TRCP 166B)

SPECIAL APPEARANCE
(TRCP 120A)

QUASH DEPOSITIONS -
MOTION TO (TRCP 186B)

COMPEL APPEAR DEPO -
MTN (TRCP 201)

CASE CONSOLIDATION
(TRCP 174)

SPECIAL APPEARANCE
(TRCP 120A)

SUBSTITUTED SERVICE -
MOTION FOR (TRCP 106)

MOTION FOR CONTEMPT

QUASI DEPOSITIONS -
MOTION TO (TRCP [86B)

QUASI] DEPOSITIONS -
MOTION TO (TRCP 1868)

MOTION FOR
CONTINUANCE
(FAMILY)

Re-Set

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Hearing ADV
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Re-Set

Heard (No ADV
Ruling
Made)

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KELLER, BRIAN

ENGELHARDT
STEVEN
KELLER, BRIAN

KELLER, BRIAN

KELLER, BRIAN

KELLER. BRIAN
KARCIMER,
JEFFREY

KARCHMER,
JEFFREY

MOSELEY,
LESLYE FI.LEN
KELLER, BRIAN

KELLER, BRIAN

KELLER, BRIAN

KARCEIMER,
JEFFREY
KELLER, BRIAN

KELLER, BRIAN

KELLER, BRIAN

TAYLOR,
THOMAS I.

KELLER. BRIAN

KELLER, BREAN

BISSINGER,
DAVID KENT

TAYLOR,
THOMAS 1.

KELLER, BRIAN

KELLER, BRIAN

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